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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


   JOHN DOE,

                          Plaintiff,

   v.                                                Case No: 6:18-cv-01069-ORL-RBD-KRS



   ROLLINS COLLEGE,

                     Defendant
   ________________________________/

                                       MEDIATION REPORT

          A mediation conference was held in this matter on March 11, 2019, and the results

   of that conference are indicated below:

                  (a)     The following individuals, parties, company representatives, and/or

          claims professionals attended and participated in the mediation conference and each

          possessed the requisite settlement authority:

                  XXX Plaintiff and Plaintiff’s trial counsel

                  XXX Designated representative for Defendant and Defendant’s trial

                          counsel

                 XXX Required claims professional

                  (b)     The following individuals, parties, corporate representative, and/or

          claims professionals failed to appear and/or participate as ordered: N/A

                  (c)     The outcome of the mediation conference was:

                  ____    The case has been completely settled. In accordance with the
                          Local Rules, lead counsel will promptly notify the Court of the
                          disposition of the matter.
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               ___     The case has been partially resolved and lead counsel has been
                       instructed to file a joint stipulation regarding those claims which have
                       been resolved within ten (10) days. The following issues remain for
                       this Court to resolve:

               ___    The conference was continued with the consent of all parties and
                      counsel. The mediation conference will be scheduled not later than
                      ten (10) days prior to the scheduled trial date. Any continuance
                      beyond that time must be approved by the presiding Judge.
                      Mediation Reports will be filed after additional conferences are
                      complete.

               XXX The parties have reached an impasse.

        Done this 11th day of March 2019, in Orlando, Florida.


                                                       s/Kay L. Wolf_________________
                                                       Signature of Mediator
                                                       Florida Bar No. 247065

                                                      Kay L. Wolf____
                                                      Name of Mediator

                                                       KAY L. WOLF Mediation Services, LLC
                                                       801 Silver Drive
                                                       Mailing Address

                                                      Orlando, Florida 32804__________
                                                      City, State and Zip Code

                                                      407-758-6984_________________
                                                      Telephone Number


   	
